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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
KEITH ANDREWS, TIFFANI ANDREWS,SARAH RATHBONE,                               CASE NUMBER
JOSH CHANCER, JOSEPH VIENS, et al., individually                             2:15-cv-04989 PSG (JEMx)
and on behalf of others similarly situated
                                                       Plaintiff(s)
                             v.
PLAINS ALL AMERICAN PIPELINE, L.P.,                                               (PROPOSED) ORDER ON APPLICATION
a Delaware limited partnership, PLAINS                                           OF NON-RESIDENT ATTORNEY TO APPEAR
PIPELINE, L.P., a Texas limited                                                     IN A SPECIFIC CASE PRO HAC VICE
partnership, and JOHN DOES 1 through
10
                              Defendant(s).

The Court, having reviewed proof of payment of the applicable fee and accompanying Application of Non-
Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Zavitsanos, John                                                        of    Ahmad Zavitsanos Anaipakos Alavi & Mensing PC
Applicant's Name (Last Name, First Name & Middle Initial)                     1221 McKinney, Suite 3460
                                                                              Houston, TX 77010
713-655-1101                        713-655-0062
Telephone Number                    Fax Number

jzavitsanos@azalaw.com                                                       Firm Name & Address
                          E-Mail Address

for permission to appear and participate in this case on behalf of
Plains All American Pipeline, L.P.
Plains Pipeline, L.P.

Name(s) of Party(ies) Represented                           Plaintiff    X Defendant          Other:
and designating as Local Counsel
Yu, Susan C.                                                            of Susan Yu Law Group, APC
Designee's Name (Last Name, First Name & Middle Initial)                      10390 Santa Monica Blvd., 220
                                                                              Los Angeles, CA 90025
195640                              310-789-1177
Designee’s Cal. Bar Number          Telephone Number

                                    310-861-1007                             Firm Name & Address
                                    Fax Number
                                                                             yu@susanyulaw.com
                                                                                                       E-Mail Address
hereby ORDERS the Application be:

        GRANTED.
        DENIED. Fee shall be returned by the Clerk.
        DENIED, for failure to pay the required fee.

Dated
                                                                             U.S. District Judge/U.S. Magistrate Judge

G–64 ORDER (06/13)           (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO                                      Page 1 of 1

                                         APPEAR IN A SPECIFIC CASE PRO HAC VICE
